      3:17-cv-03279-SEM-TSH # 147        Page 1 of 3                                     E-FILED
                                                             Wednesday, 31 July, 2019 10:59:45 AM
                                                                    Clerk, U.S. District Court, ILCD

             IN THE UNITED STATES DISTRICT COURT FOR THE
           CENTRAL DISTRICT OF ILLINOIS, SPRINGFIELD DIVISION

JACQUELINE FARRIS,                            )
                                              )
                   Plaintiff,                 )
                                              )
                   v.                         )        Case No. 17 C 3279
                                              )
ERIC KOHLRUS, et al.,                         )        Hon. Sue E. Myerscough
                                              )
                   Defendants.                )        Hon. Tom Schanzle-Haskins

           PLAINTIFF’S UNOPPOSED MOTION TO DISMISS
      CLAIMS AGAINST DEFENDANT AMY RUDE WITH PREJUDICE

      1.     Plaintiff moves to dismiss with prejudice her claims against Defendant

Amy Rude.

      2.     After conferring, the parties have agreed that each party shall be

responsible for their own costs related to Amy Rude’s involvement in this lawsuit.

      3.     Nothing in this motion to dismiss is intended to alter or affect any of

Plaintiff’s remaining claims.

      WHEREFORE, Plaintiff respectfully requests that all claims against

Defendant Amy Rude be dismissed with prejudice, and that the Court order each

party to pay their own costs related to Defendant Rude’s involvement in this

lawsuit.




                                              Respectfully submitted,

                                              /s/ Megan Pierce
                                              Megan Pierce
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                                         Attorney for Plaintiff

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                         CERTIFICATE OF SERVICE

       I, Megan Pierce, an attorney, certify that on July 31, 2019, I caused the
foregoing Plaintiff’s Unopposed Motion to Dismiss Claims against Defendant Amy
Rude with Prejudice to be filed using the Court’s CM/ECF system, which effected
service on all counsel of record.


                                            /s/ Megan Pierce
                                            Megan Pierce
                                            Attorney for Plaintiff




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